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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION


PUBLIC EMPLOYEES’
RETIREMENT SYSTEM OF
MISSISSIPPI, individually and on behalf
of all others similarly situated,

                  Plaintiff,
                                          Civ. A. No.
      v.                                  4:20-cv-00005-ELR

MOHAWK INDUSTRIES, INC., and
JEFFREY S. LORBERBAUM,

                  Defendants.



 LEAD PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO
   DISMISS THE CONSOLIDATED CLASS ACTION COMPLAINT
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I.    PRELIMINARY STATEMENT

      This securities class action against Mohawk Industries, Inc. (“Mohawk”) and

its Chief Executive Officer, Defendant Lorberbaum, arises from Defendants’ series

of misrepresentations about Mohawk’s U.S.-made Luxury Vinyl Tile (“LVT”), the

reasons the Company’s inventory was ballooning and the time needed to sell that

inventory was lengthening, and Mohawk’s supposed “record” sales and operating

margins. The Complaint—backed by detailed and consistent accounts from over a

dozen former Mohawk employees—alleges in detail the myriad reasons why each

of Defendants’ statements was false or misleading and alleges abundant facts

supporting a strong inference of scienter. The Complaint also spells out how

Defendants’ misstatements caused investors’ losses after a series of partial corrective

disclosures revealed the truth. No more is required to plead an actionable claim.

      Defendants nonetheless move to dismiss the Complaint, arguing it fails to

adequately allege falsity, a strong scienter inference, and loss causation. But

Defendants’ entire motion depends on mischaracterizing and misrepresenting the

Complaint and its factual predicate, and ignoring whole categories of facts showing

the misleading nature of their statements and the strong inference of scienter. Indeed,

Defendants’ motion ignores completely the countless allegations concerning their

misstatements about the reasons for Mohawk’s swelling inventory and the quality of



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its LVT. A fair reading of the full facts alleged shows that the Complaint pleads the

requisite elements of Plaintiff’s claims. Defendants’ motion should be denied.

II.   SUMMARY OF THE FRAUD

      A.     Mohawk Misrepresented Its Ability to Manufacture
             LVT and Concealed Its Scheme to Boost Margins.

      Entering the Class Period, Mohawk’s dominance of the flooring market was

threatened as its competitors more quickly capitalized on the skyrocketing demand

for LVT, seriously eroding Mohawk’s market share. ¶¶55-68.1 To stem that decline,

Mohawk purchased an LVT manufacturer with a new plant in Dalton, Georgia,

claiming that the plant would enable Mohawk to recapture market share from

competitors selling imported Chinese LVT. ¶¶61-65, 92. As production at the new

plant ramped up, Mohawk falsely claimed that its “superior” U.S.-made LVT was

“being well accepted across all channels,” and that the Company was “selling”

everything its manufacturing “capacity” allowed. ¶¶67, 94.

      In truth, half of Mohawk’s U.S.-made LVT was so defect-riddled that it was

unsellable, and the LVT the Company did sell was returned in droves because of



1
  All capitalized terms not defined in this brief have the meanings assigned to them
in the Consolidated Class Action Complaint (“Complaint”). Citations to “¶” and
“Mot.” are to the Complaint and Defendants’ brief in support of their motion to
dismiss (ECF No. 54-1), respectively. Unless otherwise stated, all emphasis is added,
and internal quotation marks and citations are omitted.

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rampant defects. Numerous former Mohawk employees confirmed these points:

• FE1, the Head of the Builder and Multifamily division and member of Mohawk’s
  Executive Leadership Team (the “ELT”), explained that 50% of the LVT
  produced and stored in Mohawk’s warehouses was unsellable (¶¶163-67);

• FE12, a Regional Distribution Sales Manager, confirmed that at least 50% of the
  U.S.-made LVT was defective (¶¶172-73, 190);

• FE5, a Division Manager who oversaw East Coast and Canada sales of
  Mohawk’s domestic LVT, said he saw daily audit tests revealing 50% or more of
  the U.S.-made LVT had manufacturing defects (¶¶171, 176); and

• FE5, FE11 (a VP of Product Development), and FE7 (a Distribution and Plant
  Manager responsible for distribution from the U.S. LVT Plant), each described
  several LVT defects that made installation difficult, if not impossible (¶¶174-76).

The defects were so pervasive that Mohawk’s main distributors stopped carrying the

products, causing distributor sales to drop 60-70% between 2016 and early 2019.

¶¶185-87, 190-92. And Mohawk’s $1 billion Builder division stopped selling the

Company’s domestic LVT altogether in early 2018. ¶¶197-99.2

      Rather than writing off the defective LVT as GAAP required—which would

have negatively impacted the Company’s margins and profits by increasing its cost



2
  Defendants’ self-serving interpretation of extraneous documents, including their
assertion that Mohawk “improved its domestic LVT manufacturing capabilities”
(Mot. at 7), cannot be considered “for the truth of the matters they assert,” especially
where, as here, they contradict the Complaint’s allegations and are “subject to
reasonable dispute.” In re Flowers Foods, Inc. Sec. Litig., 2018 WL 1558558, at *4-
5 (M.D. Ga. Mar. 23, 2018). Defendants cannot “substitute their version of the facts
for Plaintiff[’s] account.” In re Sykes Enters., 2001 WL 964160, at *2 (M.D. Fla.
Mar. 7, 2001).

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of sales—Brian Carson (Mohawk’s President of Flooring North America) directed

employees to carry the defective LVT in inventory, but with an internal notation that

it should not be sold to customers. ¶¶162-68. Writing off the defective LVT also

would have tipped off investors about Mohawk’s manufacturing problems. ¶159.

      Simultaneously, Carson directed employees to overproduce LVT and other

products to drive down per-unit manufacturing costs (by spreading the Company’s

fixed costs over more finished products), which inflated Mohawk’s reported

operating margins (the percentage profit it earned for each dollar of sales) to 14-16%,

eclipsing its largest competitor’s 6-8% margins. ¶¶205-17, 215-16.

      Together, the intentional overproduction, inability to produce quality LVT,

and refusal to write off unsellable inventory caused Mohawk’s reported inventory to

balloon and the time necessary to sell the products (i.e., “inventory turnover”) to

lengthen. ¶¶157-217. From 2015 to 2019, Mohawk’s LVT inventory nearly tripled,

¶¶210-12, while its carpet inventory likewise exploded, with up to six million square

feet of unsellable carpet sitting in just three Mohawk distribution centers. ¶¶206-09.

When analysts questioned the disconnect between Defendants’ public statements

that the Company was selling everything it had produced and its statements that the

Company’s inventory was rising and its turnover slowing, Defendants offered

assorted false excuses, from rising “raw material inflation” to “geographic


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expansion.” ¶¶96-106. In truth, Defendants’ various schemes caused vast unsellable

LVT and carpet to overfill their warehouses. ¶¶164-68, 205-14.

      B.     Mohawk Used the Saturday
             Scheme to Meet Analyst Estimates.

      Mohawk also artificially inflated its reported sales through an unabashedly

fraudulent scheme that its former employees described as “the biggest sham ever.”

¶¶109-56. FEs 3 through 9 provided nearly identical accounts of how, under strict

orders from Mohawk’s senior executives, every Flooring N.A. distribution center

pretended to deliver “every order in the system” for every product and all customers

on the last Saturday of every quarter. ¶¶109-50. These “deliveries” ranged from

scanning product still on warehouse shelves as if loaded onto a truck, to parking

loaded trucks in empty Mohawk parking lots, to driving loaded trucks around

purported delivery routes. Id. Mohawk otherwise never delivered on Saturdays

because its customers were not open to accept deliveries then. ¶¶116-18. Yet,

Mohawk chose to make these “deliveries” on the last Saturday of each quarter

precisely because its customers were not open. Id. The result was four to five million

pounds of fake shipments each quarter. ¶133. Though it never delivered the product,

Mohawk generated invoices for the “delivery attempts,” counted the “sales” in the

current quarter, and then “returned” the product the next quarter. ¶¶111-50. This

scheme violated GAAP and Mohawk’s policies stated in its SEC filings. ¶¶151-56.

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      The Saturday Scheme allowed Mohawk to meet (barely) or exceed (barely)

analysts’ consensus expectations—sometimes by as little as one penny; it also

allowed Mohawk to continue (falsely) reporting record sales growth. ¶¶75-76, 136-

37. During the Class Period, Mohawk fell short of expectations just twice: the second

and third quarters of 2018, which were, not coincidentally, the only two quarters

when Mohawk temporarily paused the scheme. Id.

      Mohawk strictly enforced and widely discussed the Saturday Scheme, with

employees receiving instructions to “drain the swamp” to meet sales targets in

threatening emails and national end-of-quarter conference calls with all distribution

managers throughout 2017, 2018, and 2019. ¶¶121-30. As FE4 explained, “It was

about meeting financial expectations at the end of the quarter for shareholders. There

was no other reason to do it and no one was shy about saying it.” ¶126. When FE9,

charged with verifying Mohawk’s sales reports for headquarters, asked about the

quarter-end uptick in sales, he was likewise told it was purposeful and he should not

re-evaluate the numbers. ¶¶139-42.

      Hundreds of customers were repeatedly subjected to the scheme each quarter

between 2017 and 2019, regardless of size or category, including Sherwin Williams

and Floor & Décor. ¶¶134-35. Major distributors like Apollo Distributing, New

England Floor Supply, and JJ Haines were also subjected to the scheme, despite


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complaining about the premature invoices as early as 2017. ¶120.

      C.     Lorberbaum and Carson Knew About the Schemes.

      Lorberbaum and Carson knew or were informed of, and had access to

information revealing, these schemes, including multiple reports they received

containing the results of the Saturday Scheme. ¶¶138-50. One such regularly

generated report showed the dollar values of orders invoiced each day of a quarter,

including spikes on the final day that could not be missed. ¶¶138-42. “Executive

dashboard packets” containing orders, claims, and returns data went to Lorberbaum

daily. ¶¶143-44. Two other reports created specifically for the last Saturday of each

quarter dedicated an entire page to unsuccessful deliveries returned to the

warehouses but still invoiced in the current quarter. ¶¶145-50.

      Lorberbaum and Carson also knew of the defects plaguing the U.S.-made

LVT and the reasons for Mohawk’s rising inventory and slowing turnover. ¶¶177-

83, 195, 200. In addition to masterminding the overproduction and inventory-

misclassification schemes, Carson told his colleagues at a Surfaces Trade Show in

January 2017 that—regarding Mohawk’s LVT—“the dogs don’t like the dog food

we’re making.” ¶179. And, in April 2018, when Lorberbaum confronted FE1 about

the Builder division’s refusal to sell Mohawk’s U.S.-made LVT, FE1 told

Lorberbaum plainly that the U.S. LVT Plant did not make quality LVT and Mohawk



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would lose half its customers if the Builder division sold it. ¶200. Lorberbaum also

visited the U.S. LVT Plant in the summer of 2018, when FE11 and two other Senior

VPs told Lorberbaum directly that the Plant was not optimized to produce the LVT

and was generating a higher rate of waste. ¶¶177-78.

      Finally, in September 2018, FE1 confronted Lorberbaum in-person about how

Carson was “screwing with [Mohawk’s] finances” and “the numbers are wrong.”

¶¶218-23. After a brief internal investigation, Lorberbaum—who said that “Carson

is lying every time he opens his mouth”—fired Carson and admitted to FE1, “I just

don’t know how I missed it.” ¶¶221-28.

      D.     Investors Suffered Losses as the Truth Emerged.

      The truth about Mohawk’s LVT and the reasons for Mohawk’s rising

inventory, slowing turnover, and supposedly record sales and margins gradually

began to emerge. A series of disclosures and materializations of risks revealed that—

contrary to Defendants’ repeated assurances—Mohawk had excess inventory,

needed to reduce production, suffered manufacturing problems, and faced falling

sales and margins. ¶¶237-57. In addition, when Mohawk temporarily halted the

Saturday Scheme, it missed analysts’ expectations. ¶¶136-37. Mohawk’s stock price

dropped precipitously in response to each of the disclosures, wiping out $7.4 billion

in market value. ¶¶242, 249, 254, 257.



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        On June 25, 2020, Mohawk received subpoenas issued by the U.S. Attorney’s

Office for the Northern District of Georgia and the SEC on topics similar to those

raised by the Complaint.3

III.    ARGUMENT

        “In a ruling on a motion to dismiss, the court must accept the facts pleaded in

the complaint as true and construe them in the light most favorable to the plaintiff.”

In re: Ebix, Inc. Sec. Litig., 898 F. Supp. 2d 1325, 1339 (N.D. Ga. 2012). A

complaint may be dismissed under Rule 12(b)(6) only when the facts cannot “state

a claim to relief that is plausible.” Flowers Foods, 2018 WL 1558558, at *3.

        A.    The Complaint Adequately Alleges Defendants’
              Material Misrepresentations and Omissions.

        Section 10(b) of the Securities Exchange Act of 1934 imposes liability not

only for false statements, but also “omissions of material fact” that make statements

“misleading.” In re HD Supply Hldgs., Inc. Sec. Litig., 341 F. Supp. 3d 1342, 1352

(N.D. Ga. 2018). “[A] duty to speak the full truth arises when a defendant undertakes

to say anything,” and the “prohibition of misleading statements includes not only

outright lies, but half-truths.” Barney Holland Oil Co. v. FleetCor Techs., Inc., 2007

WL 9702207, at *5 (N.D. Ga. Aug. 17, 2007). Additionally, “a duty to disclose all



3
    Mohawk, Current Report (Form 8-K) (July 13, 2020).

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material information relating to a particular subject arises by voluntarily touting the

subject to investors.” Flowers Foods, 2018 WL 1558558, at *9. Plaintiff here

sufficiently alleges numerous actionable misstatements and omissions.

          1.    Defendants Falsely Claimed That Mohawk Was Selling
                All the LVT It Could and Was Capacity Constrained.

      Lorberbaum repeatedly told investors during the Class Period that even after

“increas[ing] the capacity of our LVT,” Mohawk was “selling all of [the LVT] we

could have” and that sales would have been even higher if not for “capacity

constraints.” ¶¶89-93, 260, 296-98, 321-22. These statements were a continuation

of his prior representations that Mohawk was “currently selling all of our LVT we

are manufacturing, even as we continue to increase our production capacity.” ¶67.

      Those statements were demonstrably false and misleading. In reality, an

astonishing 50% of Mohawk’s LVT was defective and unsellable; Mohawk’s U.S.

warehouses were overflowing with defective LVT marked “do not ship”; Mohawk

was overproducing and stockpiling so much LVT that it had to build additional

warehouses and rent additional storage trailers to store it; and Mohawk’s customers,

including distributors and builders, refused to sell or accept the defective LVT.

¶¶157-217, 233-34. These facts are more than sufficient to allege that Defendants’

statements were misleading, as statements “concerning the capacity for …

production” are misleading when production difficulties go undisclosed. Bellocco v.

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Curd, 2005 WL 2675022, at *1-3 (M.D. Fla. Oct. 20, 2005); see also La. Mun. Police

Emps. Ret. Sys. v. Green Mountain Coffee Roasters, Inc., 2017 WL 3188425, at *4-

5 (D. Vt. July 21, 2017) (statements that the company “was straining capacity”

misleading when it was “hiding stockpiled and expiring coffee products”).

      Faced with these damning facts, Defendants improperly attempt to rewrite

statements they made during the Class Period (Mot. at 21), claiming that they meant

to say that they were selling all of the sellable LVT, an assertion they claim would

have been literally true. To begin, literal truth is not the standard, as this Court well

knows: “The disclosure required by the securities laws is measured not by literal

truth, but by the ability of the statements to accurately inform rather than mislead

prospective buyers.” HD Supply, 341 F. Supp. 3d at 1352. Here, it was surely

misleading for Defendants to say Mohawk was “selling all of [the LVT] we could

have”—singling out “capacity constraints” as the impediment to further sales—

without revealing, among other things: (i) half the U.S.-made LVT was unsellable

and sitting in warehouses and rented trailers, (ii) distributors and builders were

refusing to carry it, and (iii) Mohawk’s own Builder division was refusing to sell it.

      Moreover, none of Defendants’ actual statements to investors included the

“sellable” caveat they now wish was included. Plus, contrary to Defendants’

litigation spin, securities analysts covering the Company contemporaneously were


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misled, reporting their belief that Mohawk was “selling everything they produce.”

¶¶68, 93; see In re STEC Inc. Sec. Litig., 2011 WL 2669217, at *8 (C.D. Cal. June

17, 2011) (“analyst statements comport with Plaintiffs’ mosaic and the Court’s

conclusion that Defendants’ statements” were misleading). At most, Defendants’

self-serving views about how investors supposedly construed their misstatements

raise fact-intensive disputes that “have no place in a motion to dismiss,” as Judge

Martin observed when she was a member of this Court. In re Netbank, Inc. Sec.

Litig., 2009 WL 2432359, at *5 (N.D. Ga. Jan. 29, 2009).

         2.     Defendants Falsely Claimed That Mohawk’s
                LVT Was “Being Well Accepted Across All Channels.”

      Defendants did not stop at telling investors that Mohawk was selling all the

LTV it could; they buttressed those claims about capacity constraints with verifiably

false claims that Mohawk’s LVT was “being well accepted across all channels.”

¶¶94-95, 184-96, 262, 273. In fact, Mohawk’s LVT was not well accepted. First,

builders refused to accept it 80% of the time, until the Builder division refused to

sell it altogether to avoid losing half of the division’s customers. ¶¶184, 197-200.

Second, retailers returned defective Mohawk LVT 25-50% of the time and reduced

their retail space for Mohawk LVT by 50%. ¶¶185-88. Third, distributors reduced

LVT purchases 60-70% because 25-50% of the product they received was defective.

¶¶185-193. These facts and the FEs’ accounts in the Complaint readily show that

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Mohawk’s LVT was not “well accepted across all channels”; indeed, it was not “well

accepted” by any of the distribution “channels.”

      Unable to contest their statements’ falsity, Defendants try to recast them as

immaterial “puffery.” They are not. They are verifiable misrepresentations of fact

that are readily contradicted by the Complaint’s well-pleaded allegations. Because

the statements are “subject to any sort of objective verification,” they are not puffery.

HD Supply, 341 F. Supp. 3d at 1360. Courts, including this one, routinely refuse to

discount as immaterial puffery statements like Defendants’ misrepresentations about

channel acceptance of Mohawk’s LVT. After all, neither statements of “perfect

deployment of inventory,” id., nor those regarding “customers’ confidence and

growing needs” are immaterial puffery. In re Sci.-Atlanta, Inc. Sec. Litig., 239 F.

Supp. 2d 1351, 1360 (N.D. Ga. 2002).4

      In any event, “[a] statement can be dismissed as puffery as a matter of law

only if it is immaterial because it is so exaggerated or so vague that a reasonable

investor would not rely on it in considering the total mix of facts available.” HD

Supply, 341 F. Supp. 3d at 1360. Such materiality assessments involve “inherently


4
  By contrast, Defendants’ cited cases involved traditional corporate fluff like
management’s “feel[ings],” “belie[fs],” “hope[s],” and “want[s]” untethered to
verifiable facts. Mogensen v. Body Cent. Corp., 15 F. Supp. 3d 1191, 1213 (M.D.
Fla. 2014); City of Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651, 670-
71 (6th Cir. 2005) (“self-praise and confidence” like “best tires in the world”).

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fact-specific” inquiries that “are peculiarly ones for the trier of fact.” S.E.C. v.

Morgan Keegan & Co., 678 F.3d 1233, 1245-46 (11th Cir. 2012).

          3.     Defendants Misled Investors About the Reasons
                 for Mohawk’s “Record” Quarterly Margins.

      Defendants attributed Mohawk’s record-breaking quarterly margins during

the Class Period to improved “volume, mix and productivity” and “[t]he continued

improvement of our LVT manufacturing process.” ¶¶80-88, 263, 270-71, 282, 294,

308. In truth, Mohawk achieved its record margins by (i) overproducing LVT and

carpet to artificially drive down per-unit costs, and (ii) refusing to write down or take

a charge against cost of sales for the defective and obsolete products carried in

inventory, including those coded not to be sold. ¶¶164-68, 205-17, 233-35.

      Having identified for investors the purported reasons for their record margins,

Defendants were obligated—but failed—to disclose all material facts on the subject.

As courts in this Circuit and elsewhere have explained, “a duty to disclose all

material information relating to a particular subject arises by voluntarily touting the

subject to investors.” Flowers Foods, 2018 WL 1558558, at *9. Here, Defendants

misleadingly touted their record margins, including the margins’ supposed sources,

without disclosing that the margins were actually achieved by keeping defective and

excess LVT and carpet in “inventory” and intentionally overproducing product. See

Sci.-Atlanta, 239 F. Supp. 2d at 1359-63 (“falsely enumerating the reasons for the

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record growth” actionable when hid GAAP violations); In re Mylan N.V. Sec. Litig.,

2018 WL 1595985, at *6 (S.D.N.Y. Mar. 28, 2018) (attributing source of income

strength to “favorable pricing and volume” “put[] at issue the cause of its financial

success” and misleadingly omitted a source of success).

      In response, Defendants attack (Mot. at 11-12) an allegation the Complaint

does not make. The Complaint challenges the Defendants’ misleading descriptions

of the reasons for their record margins—not the reported margins themselves. ¶¶80-

88, 263. Defendants also erroneously assert (Mot. at 12) that the Complaint does not

allege that their margin statements were material. The Complaint, however, is full

of detailed allegations demonstrating the materiality of Defendants’ statements. For

example, analysts lauded Mohawk’s “unprecedented margin performance,” stating

“[i]t’s really [Mohawk’s] margin performance that piques our interest” (¶83), which

“underscores the materiality.” Sci.-Atlanta, 239 F. Supp. 2d at 1361 n.6. And, in any

event, Defendants’ musings about the “immateriality” of their misstatements again

raise, at most, factual disputes unfit for resolution on the pleadings. See Luczak v.

Nat’l Beverage Corp., 812 F. App’x 915, 924 (11th Cir. 2020).

         4.     Defendants Misled Investors About the Reasons
                for Rising Inventory and Slowing Turnover.

      Defendants also falsely assured investors that Mohawk’s rising inventory and

slowing turnover resulted from benign and temporary causes like rising “raw

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material costs” and “geographic expansion.” E.g., ¶¶96-106, 261. In truth, inventory

was increasing and turnover lengthening because Defendants refused to write off

unsellable LVT totaling 50% of the U.S.-made LVT. ¶¶157-183. Meanwhile,

Defendants intentionally overproduced product to improve margins, while

Mohawk’s distributors and Builder division refused to sell Mohawk-produced LVT.

¶¶184-217. Defendants’ statements to investors downplaying and misrepresenting

the true causes of its rising inventory and lengthening turnover are actionable. See,

e.g., HD Supply, 341 F. Supp. 3d at 1358 (statements downplaying extent of issues

and assuring problems “behind” the company were misleading when the company

was not “fixing the issues long-term” and was not “over the hump”).

      Unable to overcome the Complaint’s detailed allegations, Defendants again

try to rewrite them. But contrary to Defendants’ repeated assertions (Mot. at 11-12),

the Complaint challenges the reasons Defendants offered to excuse Mohawk’s

increased inventory and lengthening turnover—not the reported numbers

themselves. Also unavailing is Defendants’ contention that the Company’s

disclosures about rising “days-in-inventory” cuts against an inference of fraud

because this was supposedly “negative” information. Mot. at 12. Inventory metrics

themselves can be positive or negative, depending on what is driving those numbers.

¶¶97, 235. Here, Defendants identified only benign and positive drivers, such as


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“geographic expansion,” thereby hiding the rampant problems and nefarious

schemes that actually drove rising inventory. Thus, Defendants’ citation to a truly

honest disclosure of “negative information” in In re KLX, Inc. Securities Litigation

does not support them. 232 F. Supp. 3d 1269, 1282 (S.D. Fla. 2017).

          5.    Defendants Misled Investors About
                Mohawk’s “Record” Quarterly Sales.

      Defendants further misled investors during the Class Period by touting their

“record” quarterly sales and falsely attributing them to legitimate factors such as

“price and product mix.” E.g., ¶¶69-79, 85-88, 259. It was false and misleading for

Mohawk to tell investors that it achieved its “record sales” through legitimate factors

when, in truth, Mohawk artificially inflated its sales numbers through the Saturday

Scheme. See, e.g., Sci.-Atlanta, 239 F. Supp. 2d at 1359-63; In re Theragenics Corp.

Sec. Litig., 137 F. Supp. 2d 1339, 1343 (N.D. Ga. 2001) (statements that “increased

revenues were attributable to increased production volume” misleading when due to

other factors); Mylan, 2018 WL 1595985, at *6 (statements attributing income to

“favorable pricing and volume” misleading when also due to improper practices).

      Defendants’ challenges to the Complaint’s Saturday Scheme allegations fail.

First, Defendants assert that the Complaint does not describe the Saturday Scheme

with sufficient particularity. Mot. at 14-19. Not so. The Complaint includes seven

FE accounts describing the Saturday Scheme in painstaking detail, including:

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• Who was subject to the scheme: Every customer of Flooring N.A., regardless of
  size, including Sherwin Williams, Floor & Decor, Apollo Distributing, New
  England Floor Supply, and JJ Haines (e.g., ¶¶120-21, 134);

• What products: Every product sold by Flooring N.A., including Conventional
  Flooring Products and LVT (e.g., ¶¶131, 135);

• When the scheme occurred: The last Saturday of the quarter. Customers did not
  accept product on Saturday, and Mohawk did not otherwise deliver product on
  Saturday (e.g., ¶¶111-20);

• Where the scheme occurred: Nationwide, all distribution centers (e.g., ¶¶131-37);

• What transactions: Every outstanding order at the end of the quarter, including
  for the major LVT customers specifically identified in the Complaint (e.g., ¶135);

• How much product: 4 to 5 million pounds of product each quarter (¶133); and

• Why the scheme occurred: To buoy sales and meet analyst consensus estimates
  and Mohawk’s revenue guidance (e.g., ¶¶111-30).

      The Complaint also details the specific GAAP and Company accounting

requirements that Mohawk violated by improperly recognizing “sales” revenue for

millions of pounds of product each quarter that was never delivered and for which

control was never transferred. ¶¶109-56. No more is required because when, as here,

the claim is “premature recognition of revenue in violation of the GAAP,” the

complaint need only state the “revenue recognition policy” and “how that policy was

violated.” Sci.-Atlanta, 239 F. Supp. 2d at 1364; see also In re Focus Enhancements,

Inc. Sec. Litig., 309 F. Supp. 2d 134, 150 (D. Mass. 2001) (allegations that

defendants “recognized revenue” from “phony sales” of products “stored in trailers



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in [company’s] warehouse” were “plainly actionable”). The Complaint pleads both.

      Despite this elaborate detail, Defendants argue that the Complaint fails

because it supposedly does not precisely quantify the Saturday Scheme’s impact on

Mohawk’s sales each quarter. But courts have repeatedly found that “the complaint

need not specify the exact dollar amount of each accounting error.” In re Premiere

Techs. Inc., 2000 WL 33231639, at *17 (N.D. Ga. Dec. 8, 2000); In re Faro Techs.

Sec. Litig., 534 F. Supp. 2d 1248, 1260 (M.D. Fla. 2007) (“quantify[ing] the falsity

to the penny” is “simply not required (and often simply not available) at the pleading

stage”). Nor must Plaintiff “detail each single specific transaction in which

Defendant[s] transgressed, by customer, amount, and precise method.” In re World

Access, Inc. Sec. Litig., 119 F. Supp. 2d 1348, 1355 (N.D. Ga. 2000). Such “further

specificity can be satisfied during discovery.” HD Supply, 341 F. Supp. 3d at 1355.

      Second, Defendants’ self-serving characterization of the Saturday Scheme as

mere channel stuffing and “pushes” that are “common practice” (Mot. at 3-4) is false

and contrary to the Complaint’s allegations. Unlike “channel stuffing” or other

practices in which product is actually delivered with the customer’s approval—

practices that do not violate the accounting rules per se—here, Mohawk never

delivered the product and, in many instances, never even attempted delivery. ¶¶109-

56. Thus, none of the Saturday Scheme’s sales revenue was properly recognized.


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      Third, Defendants assert without support (Mot. at 12) that the Saturday

Scheme was not “material.” Not so. The Saturday Scheme’s phony “sales” enabled

Mohawk to meet analysts’ quarterly consensus expectations, often by just one-fifth

of one percent. ¶76. Mohawk’s own executives confirmed the Saturday Scheme’s

materiality by making it the focus of national conference calls and executive reports.

¶¶111, 123-30, 138-50. And, as courts have explained, GAAP violations themselves

are material to investors. See Sci.-Atlanta, 239 F. Supp. 2d at 1362-63 (collecting

cases). These facts, and the Complaint’s many others, amply demonstrate the

materiality of Defendants’ misstatements. Meanwhile, Defendants’ responses raise,

at most, factual disputes not fit for resolution on the pleadings. Luczak, 812 F. App’x

at 924; see also Schultz v. Applica Inc., 488 F. Supp. 2d 1219, 1226 (S.D. Fla. 2007)

(rejecting pleading-stage materiality challenge to revenue recognition violations).

      Fourth, Defendants’ confused assertion that they “accurately reported

financial information” and had no duty to disclose risks that “might make future

results less favorable” (Mot. at 13-14) ignores that Mohawk’s reported sales figures

were actually inaccurate and inflated by the Saturday Scheme. E.g., ¶¶69-79, 259.

The argument also ignores that Defendants had a duty to disclose the schemes

actually leading to those inflated results. Thus, Defendants’ cases are inapposite, as

the plaintiffs in those cases conceded the “accurate reporting” of all historic results,


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and only alleged omissions of “contingencies that might alter the [future] revenue

picture.” McDonald v. Kinder-Morgan, Inc., 287 F.3d 992, 998 (10th Cir. 2002).

      Fifth, Defendants argue (Mot. at 13) that their failure to voluntarily restate

Mohawk’s financial reports absolves them of liability. It does not. “[O]fficers and

directors are not exonerated when their own audit committee finds nothing wrong in

the company’s accounting practices.” In re LDK Solar Sec. Litig., 584 F. Supp. 2d

1230, 1246 (N.D. Cal. 2008). Indeed, “[t]o rule otherwise would create a huge fox-

guards-the-chicken-house loophole in our private securities law enforcement.” Id.;

see also Aldridge v. A.T. Cross Corp., 284 F.3d 72, 83 (1st Cir. 2002) (same).

      Finally, Defendants urge (Mot. at 2, 4, 15-16, 23) the Court to disregard the

FEs’ accounts, disparaging them as “lower-level.” But not only were the FEs not

“lower-level,” some helped implement and indisputably had personal knowledge of

the schemes. The Complaint includes accounts from, among others, a member of the

ELT and the Head of Mohawk’s $1 billion Builder division; the heads of Mohawk’s

primary distribution centers; and former Mohawk Vice Presidents who spoke

directly with Lorberbaum, Carson, and other top executives and officers.

      Plus, it is of no moment that the Complaint protects the confidentiality of the

14 Mohawk “unnamed” FEs. “A securities fraud complaint need not name a

confidential source.” HD Supply, 341 F. Supp. 3d at 1352. “Indeed, circuit courts


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have recognized information from multiple confidential sources can be meaningful

when corroborated by one another and the absence of proper names does not

invalidate the drawing of a strong inference from informants’ assertions.” Tung v.

Dycom Indus., Inc., 454 F. Supp. 3d 1244, 1258 (S.D. Fla. 2020). Here, the FEs’

accounts are consistent with and corroborate one another, and the Complaint

provides all the requisite information about each cited witness—their job titles,

employment dates, and responsibilities. HD Supply, 341 F. Supp. 3d at 1352. Plus,

credibility is ultimately a fact question for the jury to resolve, not a question for the

court on a motion to dismiss. Luczak, 812 F. App’x at 924.

      Equally baseless, Defendants assert (Mot. at 2, 15, 22) that the 14 FEs have

no idea what they are talking about because they supposedly had no visibility into

the Company’s “accounting or corporate finances.” But, as set forth in the

Complaint, Mohawk’s top executives specifically and repeatedly explained the

Saturday Scheme’s purpose to the FEs and others: to recognize sales and revenue at

quarter-end to satisfy analyst and investor expectations. ¶¶111-30, 148-49.

Additionally, the FEs include some of the very managers and employees who

implemented the executives’ orders at the end of each quarter to generate the fake

sales included in the Company’s financials. See, e.g., Focus Enhancements, 309 F.

Supp. 2d at 149 (rejecting argument that witnesses without accounting roles lacked


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knowledge how sales were booked).

      The FEs also include the Logistics Business Analyst charged with preparing

reports for the President of Flooring N.A. and other executives on the last Saturday

of each quarter showing the amount of improperly recognized “sales” achieved

through the Saturday Scheme. ¶¶121, 133, 145-50. And, lastly, the Complaint

includes the account of a Mohawk ELT member, who received complaints from

Mohawk’s accounting group—including its Senior Controller and Director of

Finance—about “what [President of Flooring] Carson is making us do.” ¶¶166, 220.5

      At bottom, Defendants ask the Court to find as a matter of law at the pleading

stage that the 14 FEs were simply wrong. But, try as they might, Defendants cannot

cast aside as “half-baked conspiracy theories” (Mot. at 1) the detailed and consistent

accounts of the many FEs cited in the Complaint. Such a challenge to “the credibility

of the allegations” asks the court to improperly “weigh the evidence in this way on

a motion to dismiss.” Luczak, 812 F. App’x at 924.


5
  Defendants’ cases do not undermine the corroborative nature of the 14 first-hand
witness accounts here. For example, in Carter v. Furniture Brands Int’l, Inc., the
account of a single logistics employee was insufficient to establish early revenue
recognition because that one employee did not claim to know “when, how, and if
revenue was recognized,” and was never told the purpose of the scheme. 2015 WL
357076, at *5-7 (E.D. Mo. Jan. 27, 2015); see also City of Pontiac Gen. Emps. Ret.
Sys. v Schweitzer-Mauduit Int’l, Inc., 806 F. Supp. 2d 1267, 1296-97 (N.D. Ga.
2011) (single “lab tester” whose knowledge was “based on nothing more than talk
among [company] employees” and “talk around the mill”).

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      B.     The Complaint Raises a Strong Inference of Scienter.

      “In this Circuit, scienter consists of intent to defraud or severe recklessness on

the part of the defendant.” HD Supply, 341 F. Supp. 3d at 1360. The PSLRA permits

both “the aggregation of facts to infer scienter” and “[c]ircumstantial evidence.” In

re Equifax Inc. Sec. Litig., 357 F. Supp. 3d 1189, 1232 (N.D. Ga. 2019). The

inference of scienter “need not be irrefutable, i.e., of the smoking gun genre, or even

the most plausible of competing inferences.” Tellabs, Inc. v. Makor Issues & Rights,

Ltd., 551 U.S. 308, 324 (2007). The inquiry is simply whether “all of the facts

alleged, taken collectively, give rise to a strong inference of scienter, not whether

any individual allegation, scrutinized in isolation, meets that standard.” Id. at 310.

“Since scienter is [a] highly fact-intensive inquiry, such questions are most

appropriate for a fact finder.” Equifax, 357 F. Supp. 3d at 1232. Here, the totality of

the Complaint’s allegations supports the strong inference that Defendants had an

intent to defraud or, at least, were severely reckless during the Class Period.

      Carson’s knowledge is imputed to Mohawk. Carson, the President of

Flooring N.A., orchestrated, knew of, and received information about the fraudulent

schemes. Carson personally instructed employees to carry out the overproduction

scheme and to keep defective LVT in inventory while coding it “do not ship,” and

he received daily and quarter-end reports tallying the quarter-end sales spikes and



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unsuccessful “deliveries” as a result of the Saturday Scheme. ¶¶138-42, 150, 164-

66, 205-06, 214-17. He also knew and told others the Company’s LVT was not well

accepted. ¶¶179-83. Because Carson had “[f]ull profit and loss ownership” over

Mohawk’s North American business (¶43), furnished information to Lorberbaum

and the Company for inclusion in SEC filings (¶¶44-45), and personally certified the

accuracy of Mohawk’s public financial disclosures regarding Flooring N.A. in

quarterly SOX certifications (id.), his knowledge and intent are imputed to Mohawk.

As Chief Judge Thrash found in Equifax, a “strong inference” of corporate scienter

arises from allegations that executives who “approve” or “furnish information or

language for inclusion” in public filings also “knew, or were severely reckless, as to

the fraudulent conduct.” 357 F. Supp. 3d at 1246-47; see also Faro, 534 F. Supp. 2d

at 1263 (imputing knowledge of official who “was directly involved in and had

knowledge of” the alleged conduct and “had been terminated as a result”).6

      Further, Carson was fired after an investigation confirmed his involvement in

the schemes. ¶226. While Defendants proclaim that Carson’s firing does not support

scienter as “stock losses are often accompanied by management departures” (Mot.


6
  Even Defendants’ cited cases (Mot. at n.19) support that a strong inference of
scienter arises when “the person signing the certification was severely reckless,”
which is shown, as here, when “the person signing the certification had reason to
know … that the financial statements contained material misstatements or
omissions.” Garfield v. NDC Health Corp., 466 F.3d 1255, 1266 (11th Cir. 2006).

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at 25-26), here, the “circumstances surrounding [his] termination” support his

scienter. In re Sunbeam Sec. Litig., 89 F. Supp. 2d 1326, 1338 (S.D. Fla. 1999).

      Lorberbaum heard directly about the manufacturing problems causing

defective LVT and the real reasons for rising inventory and margins. In April

2018, Lorberbaum confronted FE1 about why FE1’s entire Builder division (the

largest division in Flooring N.A.) was not selling the Company’s U.S.-made LVT.

¶200. FE1 told Lorberbaum that the U.S. LVT Plant could not produce LVT of

satisfactory quality, and Mohawk would lose half its customers if it sold the

defective LVT. Id. In the summer of 2018, Lorberbaum was told by FE11 and two

Senior Vice Presidents that the U.S. LVT Plant was incapable of producing the LVT

designs, resulting in significant waste. ¶¶177-78. And, in a September 2018 meeting,

FE1 informed Lorberbaum of Carson’s schemes and their effect on Mohawk’s

financials, with Lorberbaum admitting that “Carson is lying every time he opens his

mouth” and “[e]very damn number he gives me is wrong.” ¶¶218-24.7 These facts

demonstrate Lorberbaum’s actual knowledge of the fraudulent activity or, at least,

his severe recklessness. See Ebix, 898 F. Supp. 2d at 1347 (allegations of “specific



7
 Defendants go too far in saying Carson’s conduct and knowledge have “no bearing”
on Lorberbaum’s scienter (Mot. at 25-26), given the schemes’ size and scope, that
Carson oversaw the largest segment of the Company, and that Lorberbaum conceded
he should have been aware. ¶¶42-43, 109-217, 225.

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communications to and from” defendants support scienter); Sunbeam, 89 F. Supp.

2d at 1338 (allegations of defendants being “directly confronted” about company’s

revenue recognition practices support scienter).8

      Defendants argue (Mot. at 29-31) that FE1’s September 2018 confrontation

of Lorberbaum regarding Carson does not support Lorberbaum’s scienter and even

establishes that there could be no prior scienter. They are wrong. To begin, as courts

in the Circuit recognize, Mohawk’s “assertion that [it] can ignore the elephant in the

room, as long as no one told them it was there does not negate recklessness.” In re

Paincare Hldgs. Sec. Litig., 541 F. Supp. 2d 1283, 1293 (M.D. Fla. 2008). Moreover,

Lorberbaum’s admission that “I just don’t know how I missed it” evinces a severe

recklessness in failing to halt the schemes throughout the Class Period. ¶¶225, 356.

Indeed, the September 2018 meeting with FE1 was not the first time Lorberbaum

learned of the omitted facts, as detailed above. Finally, the “extraordinary

accumulation of” and “necessary expenditures to store” the unsellable LVT and

carpet (¶¶164-68, 172, 205-13) would have “place[d] Defendants on notice of the

alleged activities, and therefore further support a strong inference of scienter.”



8
  The Complaint here includes the accounts of FEs who spoke directly with
Lorberbaum and Carson. Moreover, even where no such “direct interactions” exist,
“this is not fatal to Plaintiff’s securities fraud claims because circumstantial proof
will suffice.” See Flowers Foods, 2018 WL 1558558, at *15.

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Sunbeam, 89 F. Supp. 2d at 1338-39. That Defendants incurred unnecessary storage

costs to effectuate the schemes rather than writing down the unsellable inventory

supports the inference that they intended to deceive investors about the reasons for

the inventory build-up and the LVT manufacturing problems. ¶¶164-68, 208-12.9

      Lorberbaum and Carson were highly focused on LVT production. Soaring

demand for LVT was the most significant threat confronting Mohawk in its history,

eroding demand for Mohawk’s Conventional Flooring Products. ¶¶47-60. Both

Lorberbaum and Carson assured investors that the U.S. LVT Plant would enable

Mohawk to meet that threat and recapture market share taken by competitors selling

cheaper, imported LVT. ¶¶63-65. Lorberbaum told investors that LVT had “grown

faster than anything [he’d] seen in [his] 40 years of history,” and that LVT was his

“particular area of focus.” ¶¶60, 370. That Defendants “closely and continually

monitored” the subject of their misstatements supports an inference of scienter.

Theragenics, 137 F. Supp. 2d at 1348.

      Lorberbaum had access to and repeatedly received reports and information



9
  Though Defendants insist (Mot. at 29) that Mohawk’s pre-Class Period amendment
to its Form 10-K for 2015 is irrelevant to scienter, the Company’s history of material
weakness in inventory reporting also put Lorberbaum directly on notice. ¶¶379-80;
see, e.g., Faro, 534 F. Supp. 2d at 1259 (scienter inference where defendant was
“specifically aware of severe problems in [the company’s] inventory control
systems” and was “responsible for assurance of adequate internal controls”).

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evidencing the Saturday Scheme. A strong inference of scienter also exists where,

as here, Defendants either “possessed knowledge of facts or access to information

contradicting their public statements.” Equifax, 357 F. Supp. 3d at 1233;

Theragenics, 137 F. Supp. 2d at 1349 (holding “failure to disclose the [known]

reasons for the increased [product] demand … was, at the least, sufficiently lacking

in prudence or caution as to constitute severe recklessness”). Regarding the Saturday

Scheme, several FEs provided daily reports to Lorberbaum showing conspicuous

spikes in sales at the quarter-end and subsequent returns. ¶¶138-50. Lorberbaum also

had access to the Company’s database containing this data. ¶¶140, 150. These facts

strengthen the inference of Lorberbaum’s scienter. See HD Supply, 341 F. Supp. 3d

at 1361 (finding scienter pled when defendants were “involved in daily and weekly

updates …, including metrics data, [and] gauged daily progress”). So, too, does the

fact that the Saturday Scheme, about which Lorberbaum knew or was severely

reckless in not knowing, violated Mohawk’s revenue recognition policies specified

in SEC filings that Lorberbaum signed. ¶¶39, 151-56; see Schultz, 488 F. Supp. 2d

at 1226 (finding violation of “internal policy” supports an inference of scienter).

      The Saturday Scheme’s nature, duration, and scope support scienter. That

the Saturday Scheme lasted years and involved every customer, every product, and

every distribution center throughout the U.S. (¶¶109-50) further supports the scienter


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inference because those facts “would lead a reasonable person to conclude

[Defendants] knew about the fraud or were at least severely reckless in not knowing

about it.” Ebix, 898 F. Supp. 2d at 1347.10 Defendants’ scienter is also bolstered by

the fact that Flooring N.A., which generated over 40% of Mohawk’s worldwide

sales, was a core part of Mohawk’s operations. Flowers Foods, 2018 WL 1558558,

at *14.

      In response, Defendants assert (Mot. at 27-28) that the Complaint’s “core

business” allegations do not strengthen the scienter inference. But, as courts in this

Circuit have explained in rejecting this assertion, “the Court is not aware of any cases

stating … that courts in this circuit cannot consider whether the alleged fraudulent

activity was a core operation .… After all, a plaintiff may prove fraudulent intent

with circumstantial evidence.” Flowers Foods, 2018 WL 1558558, at *14.

      That the Saturday Scheme was orchestrated and overseen by senior

Mohawk executives for the specific purpose of meeting analysts’ consensus


10
   Contrary to Defendants’ assertion (Mot. at 24-25) the Complaint need not say
more about “the financial impact of the purported schemes” at this stage. See supra
p. 19. Unlike Brophy v. Jiangbo Pharm., Inc., in which the plaintiff did not “allege
any particular amount or even a range” that could “allude to the magnitude” of
overstated cash balances, 781 F.3d 1296, 1304 (11th Cir. 2015), and Mizzaro v.
Home Depot, Inc., in which the complaint relied entirely on “estimates of fraud
occurring at one or a few stores” 544 F.3d 1230, 1251 (11th Cir. 2008), here, the
Complaint relies on the 14 FEs’ corroborating accounts providing quantities and
spanning the entire U.S. ¶¶107-50, 157-236.

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estimates and Company guidance supports scienter. The scienter inference is

strengthened when, as here, Defendants “fac[ed] the prospect of failing to meet Wall

Street estimates, [and] began to employ a variety of improper means to ensure that

[the Company] would match the analysts’ estimates,” thereby allowing the Company

to “extend its unbroken streak.” Sykes, 2001 WL 964160, at *1-2. Indeed,

Lorberbaum knew about and quelled analyst concerns that Mohawk’s record growth

would end, assuring that “2017 sales will grow similarly to last year [2016]” and

continually touting the continued “record” quarterly growth. ¶¶54, 69-79. And the

only two quarters during the Class Period in which the Company did not engage in

the Saturday Scheme was when it was futile to do so because Mohawk was so far

from meeting Wall Street’s estimates. ¶¶136-37.

      Defendants posit several arguments why the totality of these allegations

supporting the scienter inference must be disregarded, none of which is availing.

      First, Defendants are wrong (Mot. at 26) that Lorberbaum’s role and

responsibilities must be ignored. As CEO and Board Chairman, Lorberbaum had

access to significant internal information, formally and informally, and significant

oversight responsibilities. E.g., ¶¶138-50, 177-78, 181-82, 376-77. This contributes

to the scienter inference. See Flowers Foods, 2018 WL 1558558, at *14.




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      Second, ignoring the Complaint’s scienter allegations, Defendants assert that

Lorberbaum had no “plausible personal motive” because he did not sell stock. Mot.

at 28-29. But, as the Supreme Court has held, “absence of a motive allegation is not

fatal.” Tellabs, 551 U.S. at 325; Netbank, 2009 WL 2432359, at *12-13 (rejecting

assertion that lack of stock sales undercuts scienter). And, in any event, the

Complaint includes motive allegations. ¶¶352, 362, 374-75; see Sci.-Atlanta, 239 F.

Supp. 2d at 1366 (scienter bolstered where “bonuses and stock compensation” tied

to the Company’s performance); Paincare, 541 F. Supp. 2d at 1293 (same).

      Finally, contrary to Defendants’ assertion (Mot. at 24) that the Complaint

pleads mere “corporate mismanagement,” the FE accounts demonstrate that

Defendants intentionally misrepresented the state of the Company’s LVT operations

and concealed the deceptive measures driving its record sales, margins, and

inventory metrics. ¶¶107-236. “[A]llegations that the Defendants made false or

misleading statements or omissions concerning such corporate mismanagement” are

actionable under Section 10(b). Equifax, 357 F. Supp. 3d at 127-18.

      C.     The Complaint Adequately Alleges Loss Causation.

      “Loss causation pleading need only satisfy Rule 8 standards, not the

heightened standards of Rule 9 or the PSLRA.” Ebix, 898 F. Supp. 2d at 1347. A

plaintiff need only plead “some indication of the loss and the causal connection that



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the plaintiff has in mind.” Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 337 (2005).

Loss causation is a fact-based inquiry that “should not typically be resolved on a

Rule 12(b)(6) motion.” Netbank, 2009 WL 2432359, at *14. The standard is satisfied

where, as here, the disclosures “relate back to the misrepresentation,” HD Supply,

341 F. Supp. 3d at 1363, or “a concealed risk” materialized and caused a stock price

decline, Flowers Foods, 2018 WL 1558558, at *18.

      Here, the Complaint pleads loss causation through disclosures and admissions

that revealed Defendants’ misrepresentations and the materialization of risks those

misrepresentations concealed. ¶¶237-57, 382-86. Specifically, on July 26, 2018,

Mohawk announced a sales and margin miss, and made several startling revelations.

Among them, Mohawk announced that it had manufacturing issues in Flooring N.A.

and that instead of “capacity constraints” and exhausted LVT inventory, it had

stockpiled unsellable inventory, requiring it to “produce[] less than [it] sold to reduce

inventory” and source LVT internationally. ¶¶238-40. In response, Mohawk’s stock

price plummeted 18%. ¶¶241-42. Next, on October 26, 2018, Mohawk again

announced another sales miss and that, after “[a]dditional manufacturing reductions”

“to control inventory,” Flooring N.A.’s operating margins had fallen to single digits.

¶¶245-46. Mohawk further revealed “physical mechanical failures” and “software

problems” at the U.S. LVT Plant. ¶245. Upon this news, the stock price toppled


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another 24%. ¶¶247-49. Finally, on July 26, 2019, Mohawk revealed these issues

were ongoing, slashing its margins and sales guidance due to “excess inventories,”

“reduced production,” and “lower volume and margins,” causing the stock price to

fall another 18%. ¶¶253-54. No more is required.

      In response, Defendants claim (Mot. at 32-33) that Mohawk’s disclosures did

not “relate” to Plaintiff’s theory of securities fraud because the schemes were never

admitted. But “Plaintiff need not allege an express admission of fraud,” as

“Defendants cannot escape liability for fraud simply by not admitting the fraud.”

Flowers Foods, 2018 WL 1558558, at *20. The disclosures “need not precisely

mirror the earlier misrepresentation,” HD Supply, 341 F. Supp. 3d at 1363, they need

only “share the same subject matter.” Flowers Foods, 2018 WL 1558558, at *19.

That is the case here. Indeed, analysts identified the “disconnect” between

Defendants’ misstatements and subsequent disclosures and connected Mohawk’s

“inventory right-sizing” to falling margins (¶¶241, 248), “support[ing] Plaintiff[’s]

inference” that the truth was revealed. HD Supply, 341 F. Supp. 3d at 1364.

      Alternatively, loss causation may be alleged through a materialization of the

risk theory, which requires no corrective disclosure at all. Flowers Foods, 2018 WL

1558558, at *18. Here, the Saturday Scheme concealed the risk that Mohawk’s

inability to produce quality LVT posed to the Company’s sales and earnings. That


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risk materialized when Mohawk missed its earnings and sales guidance in Q2 and

Q3 2018, the only quarters when Mohawk temporarily paused the Saturday Scheme.

Thus, the Complaint sufficiently alleges the link between Defendants’ fraud and the

disclosures. See In re PSS World Med., Inc. Sec. Litig., 250 F. Supp. 2d 1335, 1351.

(M.D. Fla. 2002) (“Defendants’ fraud in committing GAAP violations and

improprieties was part of a course of conduct that was ultimately the proximate cause

of the Plaintiff[’s] loss.”).

       Finally, Defendants are wrong (Mot. at 4, 32-33) that Plaintiff needs to

“disaggregate” losses at this stage. “At the pleading stage, it may be impossible for

[Plaintiff to] apportion the drop in [Defendants’] stock.” Metro. Transp. Auth.

Defined Benefit Pension Plan Master Tr. v. Welbilt, Inc, 2020 WL 905591, at *7

(M.D. Fla. Feb. 6, 2020). And fraud need not be “the sole and exclusive cause of the

injury.” Ebix, 898 F. Supp. 2d at 1347. The Complaint amply alleges the disclosures

affected Mohawk’s stock price and that halting the Saturday Scheme caused, in

material part, the “disappointing financial results.” ¶¶136-37, 237-57, 382-86.

IV.    CONCLUSION

       For the foregoing reasons, Defendants’ motion should be denied. 11


11
   Because Defendants’ sole ground (Mot. at 34) for dismissing the Section 20(a)
claim is the Complaint’s supposed failure to allege a primary violation of Section
10(b), the Court should likewise deny the motion to dismiss the Section 20(a) claim.

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        Respectfully submitted this December 28, 2020.


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                   LOCAL RULE 7.1(D) CERTIFICATION

      The undersigned counsel certifies that this document has been prepared in

Times New Roman, 14-point font in compliance with Local Rule 5.1(C) and

complies with Local Rule 7.1(D), as modified by the Court’s Order, Doc. 53,

extending the page limitation for this response from 25 pages to 35 pages.



                                              /s/ John C. Browne
                                                 John C. Browne




                          Local Rule 7.1(D) Certification
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                          CERTIFICATE OF SERVICE

      I certify that on this 28th day of December, 2020, I caused the foregoing to be

filed with the Clerk of Court using the CM/ECF system, which will automatically

send e-mail notification of such filing to all attorneys of record.



                                                /s/ John C. Browne
                                                   John C. Browne




                                Certificate of Service
